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                    EXHIBIT 9
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   From:            Schwartz, Steven (Cognizant) <sschwartz@cognizant.com>
   Sent:            Friday, April 25, 2014 1:48 PM
   To:              D'Souza, Francisco (Cognizant) <fdsouza@cognizant.com>
   Subject:         Re: Fmr. Gov. Bill Richardson (D-NM)


   Thank you. It was a long day, but, in general, all went well.

   Steven E. Schwartz
   Executive Vice President
   Chief Legal and Corporate Affairs Officer
   Cognizant Technology Solutions
   Glenpointe Centre West
   500 Frank W. Burr Blvd.
   Teaneck, New Jersey 07 666
   P - 201-678-2759
   F - 201-801-0243

   On Apr 24, 2014, at 11: 15 PM, "D'Souza, Francisco (Cognizant)" <FDSouza@cognizant.com> wrote:

         Hope all went well today ...

         Frank



         Francisco D'Souza
         Chief Executive Officer
         Cognizant

         www.cognizant.com


         From: Schwartz, Steven (Cognizant)
         Sent: Thursday, April 24, 2014 1:33 AM
         To: D'Souza, Francisco (Cognizant)
         Subject: Re: Fmr. Gov. Bill Richardson (D-NM)

         Thanks. I am fine. I have a basal cell carcinoma right below my eye. I have had it for awhile, but my doctor
         said I need to have it removed at this point. I wanted to get it done now so that it does not impact travel
         that I have to do in May to Texas and to Germany. I am having Mohs Surgery in the morning, which should
         take about three hours, and then I will be at the plastic surgeon for most of the afternoon. Should be a fun
         day!

         Steven E. Schwartz
         Executive Vice President
         Chief Legal and Corporate Affairs Officer
         Cognizant Technology Solutions
         Glenpointe Centre West
         500 Frank W. Burr Blvd.
         Teaneck, New Jersey 07666
         P - 201-678-2759
         F - 201-801-0243

         On Apr 24, 2014, at 1:27 AM, "D'Souza, Francisco (Cognizant)" <FDSouza@cognizant.com> wrote:




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               No problem on talking on Friday or beyond. Hope you are OK ....

               And of course fine to work from home next week.

               Frank



               Francisco D'Souza
               Chief Executive Officer
               Cognizant

               www.cognizant.com


               From: Schwartz, Steven (Cognizant)
               Sent: Thursday, April 24, 2014 1:26 AM
               To: D'Souza, Francisco (Cognizant)
               Subject: Re: Fmr. Gov. Bill Richardson (D-NM)

               Can we discuss on Friday? I am going to the City for a minor, but all-day surgery. I may be able
               to discuss tomorrow late afternoon or early evening, but, I am not sure of when I will get
               home.

               On the note of the surgery, I will have a fair number of stitches on my face, and have been
               told that for a week to ten days I will look like I had been in a fight and lost. Accordingly, if ok
               with you, I will likely work from home all of next week.

               Steven E. Schwartz
               Executive Vice President
               Chief Legal and Corporate Affairs Officer
               Cognizant Technology Solutions
               Glenpointe Centre West
               500 Frank W. Burr Blvd.
               Teaneck, New Jersey 07666
               P - 201-678-2759
               F - 201-801-0243

               On Apr 24, 2014, at 1:16 AM, "D'Souza, Francisco (Cognizant)" <FDSouza@cognizant.com>
               wrote:

                       Steven


                                                 Privileged
                       Frank



                       Francisco D'Souza
                       Chief Executive Officer
                       Cognizant

                       www.cognizant.com


                       From: Childs, Stephanie (Cognizant)




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                      Sent: Wednesday, April 23, 2014 1:32 PM
                      To: D'Souza, Francisco (Cognizant)
                      Cc: Schwartz, Steven (Cognizant)
                      Subject: Fmr. Gov. Bill Richardson (D-NM)

                      Frank,

                      Former New Mexico Governor Bill Richardson has agreed to join our third
                      party organization, ACA, as its lead Democratic spokesperson and
                      counterpart to Republican spokesperson Rosario Marin. Richardson has
                      strong media relationships and is well known on the policy talk show
                      circuit. As a prominent Hispanic leader and a former Energy Secretary
                      under President Clinton, we believe he will add visibility and credibility to
                      our cause. Although he has publicly supported the Senate comprehensive
                      immigration bill (see http://www.lcsun-news.com/las cruces-
                      opinion/ci 24771993/gov-bill-richardson-and-eric-p-serna-can), that support is
                      rooted in his belief in a pathway to citizenship for the undocumented and
                      unrelated to the issues impacting us. (Rosario Marin is also a committed
                      to finding a workable solution for the undocumented).

                      Over the last few months, we conducted extensive vetting of several
                      candidates (memo attached), and we believe Richardson will bring the
                      most value to our efforts. In a series of interviews with him in which we
                      reviewed the restrictive provisions of S 744, Richardson has expressed his
                      support for our position, which is consistent with his longstanding belief
                      in the need for more high skilled workers in the US. Based on that, we do
                      not believe that his support for a pathway to citizenship precludes his
                      ability to be an effective spokesperson for us. Please let me know if you
                      have any questions or concerns.


                      Best regards,

                      Stephanie Childs
                      Vice President, Global Public Policy
                      Cognizant Technology Solutions
                      300 New Jersey Avenue NW
                      Ninth Floor
                      Washington, DC 20001
                      Stephanie.childs@coqnizant.com
                      (202) 465-8781 (office)
                      (202) 257-5144 (mobile)

                      <ACA Co-Chair Candidates.docx>




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